                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              WESTERN DIVISION

UNITED STATES OF AMERICA,                         )
                                                  )
                              Plaintiff,          )
                                                  )
v.                                                )       Criminal Action Number:
                                                  )       12-000291-CV-W-GAF
RAHMON ALLEN,                                     )
                                                  )
                              Defendant.          )

                        REPORT AND RECOMMENDATION

       On February 25, 2014, defendant Rahmon Allen (“Allen”) was charged in this Court in a

ten-count Second Superseding Indictment with alleged violations of 21 U.S.C. §§ 841(b)(1)(A),

846. An arrest warrant for Allen was thereafter issued. Nearly four years later, on January 10,

2018, Allen was arrested by FBI agents in Jacksonville, Florida. The following day, Allen

appeared before the Honorable James R. Klindt, Magistrate Judge in the United States District

Court for the Middle District of Florida. Before Judge Klindt, Allen waived identity and

detention hearings (but reserving the right to seek a detention hearing when returned to this

district). On January 12, 2018, Judge Klindt ordered Allen returned to the Western District of

Missouri to face the charges set out in the aforementioned Second Superseding Indictment.

       On February 28, 2018,1 Allen made an initial appearance before the Honorable Sarah

Hays, Magistrate Judge in this district and the government filed a motion to detain Allen.

Following a hearing on March 5, 2018, the Court ordered Allen detained pending the resolution

of his criminal case. A scheduling conference was also set for March 20, 2018. At the




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                On January 30, 2018, Allen was transported by the United States Marshal’s
Service (“USMS”) to Tallahassee, Florida. A week later, on February 6, 2018, the USMS
transported Allen to Oklahoma City, Oklahoma. The next day, February 7, 2018, Allen was
transported to the CCA detention center at Leavenworth, Kansas.

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conference, Allen’s trial was scheduled to commence on May 7, 2018. However, also on March

20, 2018, Allen filed a motion with the Court to continue the case to the January 7, 2019 criminal

trial docket. On May 7, 2018, Allen filed his MOTION TO DISMISS INDICTMENT [Doc. 828],

which is now pending before the Court.

        In his motion, Allen seeks dismissal of the Second Superseding Indictment against him

due to a violation of his right to a speedy trial. A criminal defendant’s right to speedy trial is a

product of both Constitutional and statutory law. Allen invokes both bases in his motion. The

Court first addresses the statutory right to a speedy trial.

        The Speedy Trial Act, 18 U.S.C. §§ 3161-74, was enacted by Congress “in order to give

real meaning to that Sixth Amendment right.” H.R. REP. NO. 93-1508, at 11 (1974), reprinted in

1974 U.S.C.C.A.N. 7430. Germane to the present motion, the Speedy Trial Act provides:

                In any case in which a plea of not guilty is entered, the trial of a
                defendant charged in an information or indictment with the
                commission of an offense shall commence within seventy days
                from the filing date (and making public) of the information or
                indictment, or from the date the defendant has appeared before a
                judicial officer of the court in which such charge is pending,
                whichever date last occurs. . . .

18 U.S.C. § 3161(c)(1) (emphasis added). Consequently, the Speedy Trial Act requires that a

defendant be tried within seventy days after being charged or initially appearing, unless the time

is stopped for reasons set forth in the Act. United States v. Herbst, 666 F.3d 504, 510 (8th Cir.

2012) (citing United States v. Lucas, 499 F.3d 769, 782 (8th Cir. 2007) (en banc)).

        Allen argues that the 70-day time period was triggered on January 10, 2018, when he was

arrested in Florida. Allen then argues that the government was required to commence his trial on

or before March 20, 2018. Allen calculates the time between those dates as 70 days and argues

that the Speedy Trial Act has been violated. The government does not dispute Allen’s assertion
                                                   2




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that the trigger date for calculating the 70-day time period began on January 10, 2018, but argues

that some of the intervening time must be excluded from the 70-day calculation.2

       The Court disagrees with the parties as to the alleged January 10, 2018 trigger date. The

relevant section of the Speedy Trial Act expressly notes that the time begins to run “from the

date the defendant has appeared before a judicial officer of the court in which such charge is

pending.” 18 U.S.C. § 3161(c)(1) (emphasis added). In this case, Allen did not appear before a

judicial officer in this district until his initial appearance before Judge Hays on February 28,

2018. While the language in Section 3161 seems plain on its face, it should be further noted that

the Eighth Circuit has directly considered the issue.

       In United States v. Grimes, 702 F.3d 460 (8th Cir. 2012), a defendant appealed following

his conviction for various stalking and harassment crimes. On appeal, the defendant argued that

the indictment against him should have been dismissed due to violations of the Speedy Trial Act.

In support of his argument, the defendant noted:

       (1)     he was indicted by a grand jury in the United States District Court
               for the District of South Dakota in January of 2011 and a federal
               arrest warrant was issued for his arrest,

       (2)     he was arrested in the State of Virginia and made an initial
               appearance in the United States District Court for the Western
               District of Virginia on March 24, 2011,

       (3)     he was then transported by the USMS to the State of South Dakota
               where he was arraigned and entered a plea of not guilty to all
               counts on April 21, 2011,

       (4)     he filed a motion to dismiss under the Speedy Trial Act on June 15,
               2011, which was subsequently denied.


       2
               There is no dispute that Allen’s continuance request stops the clock under the
Speedy Trial Act. See 18 U.S.C. § 3161(h)(7)(A) (the 70-day period excludes “[a]ny period of
delay resulting from a continuance granted by any judge . . . at the request of the defendant”).
                                                  3




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Id. at 464-65. Before the district court, the defendant argued “that the [Speedy Trial Act’]

seventy-day period for the beginning of his trial began when he first appeared in the Western

District of Virginia.” Id. at 465. The argument was rejected.

       On the ensuing appeal, the Eighth Circuit addressed the defendant’s contention “that the

phrase ‘the court in which such charge is pending’ means all federal courts of the United States.”

Id. In rejecting the defendant’s reading of Section 3161, the Court stated:

               When interpreting a statute, we start with its plain language.
               Looking to the text of the STA, then, Congress’s use of the definite
               article “the” followed by the singular noun “court” suggests that
               the phrase “the court” refers to a single district court, rather than
               all ninety-four district courts that make up the federal court system.
               This plain reading is consistent with Rule 20 of the Federal Rules
               of Criminal Procedure, which sets forth the circumstances under
               which “[a] prosecution may be transferred to the district where the
               indictment or information is pending, or from which a warrant on a
               complaint has been issued, to the district where the defendant is
               arrested, held, or present.” If [the defendant’s] reading of the STA
               were correct, Rule 20 would be superfluous – there would be no
               reason to transfer prosecution from one district to another because
               the indictment or information already would be pending in all
               federal districts simultaneously. Further, this conclusion is
               consistent with the other circuits that have addressed this issue and
               concluded that the STA time period does not begin to accrue until
               a defendant appears in the particular district court in which the
               charges against him are pending.

Id. at 466-67 (citations omitted). Because the court concluded that the defendant’s 70-day period

under the Speedy Trial Act did not begin until he appeared in the District of South Dakota, the

court found there was no violation of the Act. Id. at 467. See also United States v. Marrero-

Romero, 954 F. Supp. 2d 76, 78 (D.P.R. 2013); United States v. Trujillo, 2013 WL 2301802, op.

at *1 (E.D. Cal. May 24, 2013); United States v. Munoz-Amado, 182 F.3d 57, 60 (1st Cir. 1999);

United States v. Palomba, 31 F.3d 1456, 1461-62 (9th Cir. 1994); United States v. Kalady, 941

F.2d 1090, 1094 (10th Cir. 1991).
                                                 4




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       Using February 28, 2018, as the starting point for calculating Allen’s Speedy Trial Act

establishes that there has been no statutory violation.3

       As previously noted, speedy trial rights also have a constitutional dimension.

Specifically, the Sixth Amendment guarantees that “[i]n all criminal prosecutions, the accused

shall enjoy the right to a speedy . . . trial.” U.S. CONST. amend. VI. It is clear, moreover, that

“Sixth Amendment challenges are reviewed separately from the Speedy Trial Act.” United

States v. Aldaco, 477 F.3d 1008, 1018-19 (8th Cir. 2007). However, it is equally well settled that

“[i]t would be unusual to find the Sixth Amendment has been violated when the Speedy Trial

Act has not.’” Id. at 1018-19 (quoting United States v. Titlbach, 339 F.3d 692, 699 (8th Cir.

2003)). In order to trigger a constitutional speedy trial analysis, a defendant must allege “the

interval between accusation and trial has crossed a line ‘dividing ordinary from presumptively

prejudicial delay.’” Aldaco, 477 F.3d at 1019 (quoting Doggett v. United States, 505 U.S. 647,

652, 112 S. Ct. 2686, 2691 (1992)).

       In this case, Allen was arrested on January 10, 2018, and his case is set on the January 7,

2019 criminal trial docket. However, absent his motion to continue, his criminal trial would

have occurred on May 7, 2018, four months after his arrest. The Court does not find that Allen

even meets the initial threshold showing for prejudice. Compare United States v. Perez-Perez,

337 F.3d 990, 995 (8th Cir. 2003) (“Five months is not a presumptively prejudicial delay.”);



       3
                Even if the Court were to utilize Allen’s trigger date of January 10, 2018, there
still would be no statutory violation. The Speedy Trial Act specifically instructs court to exclude
from the 70-day calculation any “delay resulting from any proceeding relating to the transfer of a
case or the removal of any defendant from another district under the Federal Rules of Criminal
Procedure.” 18 U.S.C. § 3161(h)(1)(E). Even assuming that this excluded transfer time is
limited to no more than 10 days [18 U.S.C. § 3161(h)(1)(F)], Allen’s claim still falls short of the
statutory time period.
                                                  5




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United States v. Patterson, 140 F.3d 767, 772 (8th Cir.1998) (five-month period between

detention and trial on drug charges “was not sufficiently long to be presumptively prejudicial”);

United States v. McFarland, 116 F.3d 316, 318 (8th Cir.1997) (delay just over seven months did

not trigger Sixth Amendment analysis). As such, the Court “need not examine the remaining4

elements.” Perez-Perez, 337 F.3d at 995.

        Accordingly, it is

        RECOMMENDED that the Court, after making an independent review of the record and

applicable law, enter an order DENYING the MOTION TO DISMISS INDICTMENT [Doc. 828] filed

on May 7, 2018.

        Counsel are reminded that each has 14 days from the date of receipt of a copy of this

report and recommendation to file and serve specific objections to the same. A failure to file and

serve timely objections shall bar attack on appeal of the factual findings in this report which are

accepted or adopted by the district judge except upon the ground of plain error or manifest

injustice.


                                                        /s/ John T. Maughmer             ,
                                                    John T. Maughmer
                                                United States Magistrate Judge




        4       A defendant must make an initial showing of presumptive prejudicial delay,
generally a delay approaching one year. Doggett v. United States, supra, 505 U.S. at 652 n.1, 112
S. Ct. at 2691 n.1. If a defendant makes an adequate initial showing, then a court must conduct
an analysis of the defendant’s speedy trial claim by balancing the four factors initially identified
by the Supreme Court in Barker v. Wingo, 407 U.S. 514, 92 S. Ct. 218 (1972), to wit: (1) the
length of delay; (2) the reason for delay; (3) whether the defendant asserted the right to a speedy
trial; and (4) whether the defendant suffered any prejudice. Id. at 530, 92 S. Ct. at 2192.
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